     Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 1 of 6




             UNITED STATES DISTRICT COURT

             SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION


UNITED STATES OF AMERICA            )
                                    )




V.                                  )      Case No. CR413-163
                                    )



ANTONIO LAMAR HAMPTON               )


                REPORT AND RECOMMENDATION

      In this drug conspiracy case defendant Antonio Hampton has moved

to suppress all evidence seized from his person and vehicle on the theory

that his initial detention by the police rested not on probable cause but

merely on reasonable suspicion, and thus while the officers who seized

him were permitted to pat him down for weapons during an investigatory

stop, they went too far by removing items from his pockets (a wad of cash

and a set of keys) that they knew from their patdown not to be weapons.

Although defendant concedes that the officers gained probable cause to

arrest him within moments of this alleged illegality, he contends that they

acted prematurely in conducting a non-protective search before that
    Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 2 of 6




probable cause came to light. The unrebutted evidence at the

suppression hearing furnishes multiple grounds for the rejection of this

strained argument.

      It is uncontested that after CNT agents made controlled purchases

of drugs from a person who resided at 2106 Mell Street,' they obtained a

state search warrant for that residence. A team of agents (10 or more)

executed the "no-knock" warrant on March 28, 2013. After surrounding

the house, a group of agents at the front began using breaching tools to

cut through an outer security door. During this process someone in the

residence opened the front door and then immediately slammed it shut.

      It took the agents some one and a half to two and a half minutes to

pry their way into the residence, where they immediately detected the

odor of burnt marijuana and observed firearms and drug paraphernalia in

plain view. One of the agents who first gained entry then spotted

someone (defendant Hampton) fleeing toward the rear of the residence

and shouted "runner!" to other agents stationed outside. Defendant

' The resident, known only to the agents as "Jeezy," exited the residence and sold
crack cocaine to a CNT informant in view of surveilling officers. "Jeezy" has been
indicted as one of defendant Hampton's codefendants, Jason Lawrence Mitchell. The
agents did not encounter defendant at the residence prior to the execution of the
search warrant and did not know that he would be there.
                                         2
    Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 3 of 6




tripped and fell when he reached the rear steps and was immediately

seized. The agents frisked him and removed from his pockets $2,850 in

cash and a set of keys. They determined that the keys fit both the front

door of the residence and a Chevrolet Impala parked in the driveway.

Defendant gave the agents written consent to search the Impala, which

led to the discovery of a large amount of cash and his driver's license in

the center console.

     Defendant indicated at the hearing that he was abandoning his

argument that his consent to search the vehicle was somehow invalid.

He nevertheless challenges its search under the theory that it was the

product of his illegal arrest and the ensuing search of his pockets, which

he insists occurred prior to the agents acquiring probable cause for his

arrest arising from the discovery of mountains of drug evidence inside the

residence.

     The Court first finds that, even prior to their entry and observations

inside the residence, the agents had probable cause to arrest defendant

based simply upon his flight during the execution of a search warrant that

issued because the agents had previously made controlled purchases of

                                    3
     Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 4 of 6




drugs from that residence. But even if probable cause to arrest

defendant was lacking until the officers effected their entry and saw

ongoing drug activity inside the residence, the Court finds that the

officers made those observations prior to seizing defendant and searching

his pockets. The unrebutted testimony establishes that the agents made

entry into the residence -- where they immediately smelled the odor of

burning marijuana and saw weapons and drugs lying about -- before one of

the officers cried "runner" and defendant was apprehended.' So, prior to

defendant's capture -- or at least simultaneously with that event -- officers

had seen drugs and guns scattered about the residence. This observation

of open and notorious drug activity clearly gave the officers probable cause

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  Defendant suggests that there was a conflict in the government witnesses'
testimony, as Agent David Arbizo testified that he did not see defendant when he first
made his entry, whereas Officer John Day, who was waiting outside the residence,
testified that he heard an officer inside shout "runner" a couple seconds before
defendant ran out the back door. The Court sees no conflict here. While Arbizo was
one of the first agents to enter the residence, he was not the only member of the entry
team. Officer Day was positive that he heard one of the agents shout "runner" before
defendant's exit, though he couldn't say which member of the entry team made that
exclamatory remark. Also, attached to defendant's brief is a copy of the investigative
report prepared by CNT agents after the execution of the search warrant. Doe. 50-1
at 8-12. That report reflects that "[u]pon CNT agents entering 2106 Mel! Street, one
of the occupants, later identified as Antonio Hampton, tried to flee out the rear of the
house." Id. at 9 (emphasis added). This report, prepared long before defendant filed
his suppression motion, further supports Officer Day's testimony that the agents
gained entry into the residence before Hampton made his attempt to flee.
                                           4
     Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 5 of 6




to believe that defendant was likely involved in that criminal activity.'

The search incident to defendant's arrest was perfectly lawful.

      Even assuming that the officers lacked probable cause to arrest

defendant at the moment they apprehended him, they unquestionably

acquired that level of suspicion within seconds after his seizure. The

sequence of events in this case unfolded rapidly. Thus, even if defendant

made it out the back door before the agents gained knowledge that the

house was filled with weapons and drugs, their discovery of that evidence

within moments of his seizure would inevitably have led to his arrest and

the recovery of the items in his pockets by lawful means.                   Nixon v.

Williams, 467 U.S. 431 2 448 (1984) (despite any initial illegality, evidence

is admissible that "would inevitably have been discovered without

reference to the police error or misconduct"); Jefferson v. Fountain, 382

F.2d 1286, 1295 (11th Cir. 2004) (inevitable discovery doctrine permits

introduction of evidence that would have eventually come to light, even if

the search that uncovered it was itself unconstitutional) (citing United


  It is unimportant to the analysis that the agents at the rear of the house had yet to
observe that evidence, for it is "the collective knowledge of the officers [that]
determines probable cause." United States v. Astling, 733 F.2d 1446, 1460 (11th Cir.
1984).
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    Case 4:13-cr-00163-WTM-GRS Document 64 Filed 11/05/13 Page 6 of 6




States v. Terzado-Madruga, 897 F.2d 1099, 1114 (11th Cir. 1990)); United

States v. Solomon, 211 WL 1704721 at *15 n. 7 (M.D. N.C. May 4, 2011)

(cash discovered in defendant's pockets prior to lawful arrest would have

inevitably been discovered, since the police had authority to detain him

while searching his residence pursuant to a warrant and they ultimately

found evidence that independently developed probable cause to arrest

him).

        For all of these reasons, defendant's motion to suppress (doe. 50)

should be DENIED.
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        SO REPORTED AND RECOMMENDED this                      5         day of

November, 2013.

                                           UNITE ~ STATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA




                                      n.
